             Case 2:15-cv-02008-TSZ Document 187 Filed 03/14/18 Page 1 of 1



 1

 2

 3

 4

 5                         UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF WASHINGTON
 6                                  AT SEATTLE

 7
      LEA BLACK,
 8                          Plaintiff,
 9         v.                                        C15-2008 TSZ

10    PRIDE MOBILITY PRODUCTS                        MINUTE ORDER
      CORPORATION, et al.,
11
                            Defendants.
12

13        The following Minute Order is made by direction of the Court, the Honorable
     Thomas S. Zilly, United States District Judge:
14
          (1)   Plaintiff’s pending second motion to compel and first motion for sanctions,
   docket no. 182, is REFERRED to the Honorable James P. Donohue, United States
15
   Magistrate Judge, pursuant to 28 U.S.C. § 636(b)(1)(A) and Local Magistrate Judges’
   Rule MJR 3.
16
          (2)   The Clerk is directed to send a copy of this Minute Order to all counsel of
17 record.

18         Dated this 14th day of March, 2018.

19
                                                   William M. McCool
20                                                 Clerk

21                                                 s/Karen Dews
                                                   Deputy Clerk
22

23

     MINUTE ORDER - 1
